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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 THE ESTATE OF                               )
 HERMAN WHITFIELD, III,                      )
                                             )
       PLAINTIFF,                            )      NO. 1:22-cv-01246-SEB-MJD
                                             )
       v.                                    )
                                             )
 THE CITY OF INDIANAPOLIS,                   )
 STEVEN SANCHEZ,                             )
 ADAM AHMAD,                                 )
 MATTHEW VIRT,                               )
 DOMINIQUE CLARK,                            )
 JORDAN BULL, and                            )
 NICHOLAS MATHEW,                            )
                                             )
       DEFENDANTS.                           )

                    PLAINTIFF’S SECOND AMENDED COMPLAINT

                                        I. Nature of Case

    1. This lawsuit seeks money damages against the City of Indianapolis and several of its police

       officers whose excessive force caused the death of a man undergoing a mental health crisis.


                                   II. Jurisdiction and Venue

    2. This action is brought pursuant to 42 U.S.C. § 1983 and is premised on violations of the

       fourth amendment to the United States Constitution.

    3. This Court has original subject matter jurisdiction of the federal questions presented

       pursuant to 28 U.S.C. §§1331 and 1343.

    4. The Court has supplemental jurisdiction of the state law claim against Defendant City of

       Indianapolis pursuant to 42 U.S.C. §1367.
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    5. Venue is proper in this Court and Division, pursuant to 28 U.S.C. §1391, because the events

       giving rise to this action occurred in, and the defendants are residents of, Indianapolis,

       Indiana, which is in the Indianapolis Division of the Southern District of Indiana.


                                            III. Parties

    6. Plaintiff the Estate of Herman Whitfield is a legal entity established pursuant to Indiana

       law and opened in the Marion Superior Court, Probate Division, in order to pursue the legal

       rights asserted in this case.

    7. Defendant City of Indianapolis is located in Marion County, Indiana, and is a political

       subdivision of the State of Indiana. This municipal defendant is sued on plaintiff’s federal

       claim and on plaintiff’s state claim only for compensatory, not punitive, damages.

    8. Defendants Steven Sanchez, Adam Ahmad, Matthew Virt, Dominique Clark, Jordan Bull,

       and Nicholas Mathew are adults and for all times relevant were employed as law

       enforcement officers by the City of Indianapolis. These defendants are sued only on

       plaintiff’s federal claim and for both compensatory and punitive damages.


                                             IV. Facts

    9. On April 25, 2022, Herman Whitfield, III, was at home undergoing a mental health crisis.

    10. Mr. Whitfield’s parents telephoned 9-1-1 and asked for an ambulance to come to assist

       them in obtaining mental health care for their son.

    11. Indianapolis police officers Steven Sanchez, Adam Ahmad, Matthew Virt, Dominique

       Clark, Jordan Bull, and Nicholas Mathew responded to the call.




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    12. The officers came into the house and spoke to Mr. Whitfield, but he did not appear to

       respond to them and at various times sat on his bed looking down and walked around the

       first floor of the house.

    13. Approximately ten minutes after they arrived, the officers decided to use force to detain

       Mr. Whitfield.

    14. Officer Sanchez discharged his taser twice on Mr. Whitfield.

    15. Several of the officers grabbed Mr. Whitfield and got on top of him on the floor.

    16. The officers handcuffed Mr. Whitfield behind his back while he was on his stomach on the

       floor.

    17. Rather than sit Mr. Whitfield up, the officers left him lying on his stomach.

    18. Mr. Whitfield gasped for breath and said repeatedly, “I can’t breathe.”

    19. One of the Officers asked the others if they should get Mr. Whitfield up from his prone

       position, to which one of the other officers said no.

    20. Mr. Whitfield stopped breathing.

    21. Ambulance personnel came into the house, and performed CPR on Mr. Whitfield, but he

       was unresponsive.

    22. Mr. Whitfield died because of the force used against him.

    23. The Marion County Coroner ruled that Mr. Whitfield’s death was a homicide.

    24. The force used against Mr. Whitfield was unreasonable and excessive.

    25. Mr. Whitfield needed professional mental health care, not the use of excessive force.

    26. The force used by the individual officers was pursuant to the policy and practice of the City

       of Indianapolis.




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    27. The City of Indianapolis has a mental health response unit in its police department trained

       to handle situations like that experienced by the Whitfields, but pursuant to the City’s

       policy and practice, the unit is only available during some of the hours of the day and not

       in the early morning hours when it was needed by the Whitfields and other families and

       individuals undergoing mental health crises.

    28. Pursuant to the City of Indianapolis’s policy and practice, the individual defendant officers

       did not have the same training and policies and procedures utilized by the City’s mental

       health response unit.

    29. The City of Indianapolis has a longstanding practice of allowing its officers to use

       excessive force by failing to discipline or discharge its officers who do so.

    30. Rather than imposing real consequences upon its officers who engage in excessive force,

       the City of Indianapolis instead reflexively takes the officer’s side and attempts to justify

       the officer’s actions, which continues the victimization of the person harmed and sends the

       signal to the department’s officers that such conduct will not only be tolerated but

       protected.

    31. Indeed, even when an officer is proven to have engaged in the unconstitutional use of

       excessive force, the City ignores the truth, attempts to legitimize the officer’s actions, and

       continues to employ the offending officers allowing them to continue to use excessive force

       even after it is independently determined that the force used by the officer was excessive

       and unconstitutional.

    32. The City’s actions prior to and following the inception of this case have demonstrated a

       pattern of the City failing to adequately respond to its officers’ use of excessive force

       resulting in an increasing number of serious injuries and deaths. See e.g., After uptick in



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       officer-involved shootings, IMPD to receive Department of Justice review, WFYI, Local

       News, April 16, 2024 (“In 2023 IMPD recorded 18 officer-involved shootings, the highest

       in recent years.”) (available at: https://www.wfyi.org/news/articles/after-uptick-in-

       officer-involved-shootings-indianapolis-metropolitan-police-to-receive-department-of-

       justice-review) (last accessed 10/7/24); Community reacts after IMPD has been involved

       in 5 fatal police shootings in 2 months, Fox59, Sept. 27, 2023 (available at:

       https://fox59.com/indiana-news/community-reacts-after-impd-has-been-involved-in-5-

       fatal-police-shootings-in-2-months/ (last accessed 10/7/24).

    33. Indeed, from 2015 to 2024, there have been at least 106 officer involved shootings. See

       https://www.indy.gov/activity/officer-involved-shootings.

    34. This practice was recently exemplified by the positional asphyxiation deaths of Paul

       Daniels on September 1, 2018, and of Eleanor Northington on February 7, 2019, and the

       subsequent lack of disciplinary action against any of the officers who violated IMPD

       written policy by not moving those two victims to recovery positions after handcuffing

       them in prone positions, and whose actions resulted not only in the loss of those two lives

       but also in City either paying money damages or being found liable to do so to both victims’

       Estates.

    35. On September 1, 2018, IMPD Officers Stephen Guyunn, George Rossman and Eli

       Raisovich, handcuffed a mentally impaired Paul Daniels behind his back and placed him a

       prone position on the ground. The officers handcuffed Mr. Daniels face down on the

       ground, placed weight on his back, and did not move him as soon as possible to a recovery

       position. Paul Daniels died of positional asphyxiation. The Estate of Paul Daniels filed a

       federal civil rights lawsuit over Mr. Daniels’ death. The City of Indianapolis paid money




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       to Paul Daniels’ Estate to settle its lawsuit against IMPD Officers Stephen Guyunn, George

       Rossman, and Eli Raisovich and the City of Indianapolis. Despite their actions violating

       IMPD written policy and resulting in the death of a mentally impaired person, and the City

       paying money to the Daniels Estate, the City of Indianapolis did not impose any discipline

       on IMPD Officers Stephen Guyunn, George Rossman, and/or Eli Raisovich, for their

       actions causing Mr. Daniels’ death. Additionally, the City continued to employ Officers

       Stephen Guyunn, George Rossman, and/or Eli Raisovich after their policy violations and

       the death of Mr. Daniels, and after the City paid Mr. Daniels’ Estate to settle its federal

       civil rights suit on or about August 15, 2022. Estate of Paul Daniels v. City of Indianapolis,

       No. 1:20-cv-02280-JRS-MJD, Dkt. 171.

    36. On February 7, 2019, Eleanor Northington was suffering from a mental health crisis in an

       Indianapolis church. Indianapolis Metropolitan Police Department officers responded to

       the church and used force to subdue Ms. Northington. The officers handcuffed Ms.

       Northington face down on the ground and placed weight on her back and did not place her

       in a recovery position in violation of IMPD Policy on Positional Asphyxiation. Ms.

       Northington died in part from positional asphyxiation because of the force used against her

       by the officers. Ms. Northington’s Estate brought a federal lawsuit against the City of

       Indianapolis claiming in part that the officers had battered Ms. Northington. Estate of

       Northington v. City of Indianapolis, No. 1:21-cv-00406-TWP-TAB. A federal jury

       determined that the officers had battered Ms. Northington and awarded the Estate $500,000

       as compensation for the battery. Id., Dkt. 195 (2-23-2024). The officers who the jury

       determined had battered Ms. Northington were not disciplined by the City of Indianapolis

       for their violation of IMPD policy resulting in the battery of Ms. Northington. After the




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       federal civil jury found the officers had battered Ms. Northington, the officers involved in

       the battering of Ms. Northington remained employed by the City of Indianapolis.

    37. This practice of failing to discipline officers who use excessive force was also recently

       exemplified by the shooting of Anthony Maclin.

    38. On December 31, 2022, IMPD Officers Carl Chandler and Alexander Gregory repeatedly

       shot Anthony Maclin while he was sitting in his car in his grandmother’s driveway. The

       shooting was unjustified and resulted in serious bodily injuries. Rather than disciplining

       the officers for this use of excessive force, the City of Indianapolis has defended the

       officers’ actions in both civil and criminal proceedings and continues to employ them.

    39. The Plaintiffs in Maclin also assert that the City of Indianapolis has a long-standing pattern

       and practice of failing to adequately discipline and/or terminate its officers who engage in

       excessive force. Maclin v. City of Indianapolis, 1:23-cv-01776-JRS-CSW, Dkt. 1,

       Complaint for Damages and Jury Demand, ¶¶ 81-91 (citing the Whitfield killings as one

       of several examples of IMPD officers not following training, violating policy, and suffering

       no real consequences).

    40. The City’s deliberate indifference to its officers’ use of excessive force resulting in death,

       evidenced by its failure to discipline or terminate such officers, is in stark contrast to the

       City’s response to its officers who engage in sexual misconduct, whereby the City

       immediately suspends the officers and moves to terminate them from employment. See 3

       Indy Cops have been Charged with Sex Crimes in 2024, What’s going on?, Ryan Murphy,

       Indianapolis Star, Aug. 28, 2024 (“I'm deeply disappointed and disturbed by the

       allegations made in the probable cause affidavit,” said [IMPD Chief] Bailey. …Bailey

       has recommended all three men for termination from his department of 1,441 sworn



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       officers.”)

       (available    at:   https://www.indystar.com/story/news/crime/2024/08/28/indianapolis-

       police-officers-sex-crimes-allegations-javed-richards-myron-howard-paul-

       humphrey/74888985007/) (last accessed 10/16/2024).

    41. These recent examples of the City officers’ use of excessive and deadly force and the recent

       increase in police action shootings follows a long history of the City failing to adequately

       respond to its officers’ use of such force.

    42. Examples of this long-standing practice include but are not limited to the following victims

       of the City’s officers’ use of excessive and deadly force:

           A. Michael Taylor: In 1996, a civil jury found Indianapolis police officers Charles F.

               Penniston and Edwin M. Aurs responsible for Michael Taylor Jr.’s death who was

               shot in the head while handcuffed in the back of a police car. After posttrial motions

               and appeals, over two million dollars of the Jury’s award to Michael Taylor, Jr.’s

               Estate and his mother was upheld. The only discipline the City of Indianapolis

               imposed upon its police officers Charles F. Penniston and Edwin M. Aurs related

               to the death of Michael Taylor, Jr. was to suspend them for one day each, without

               pay. IPD Officers Penniston and Aurs remained police officers employed by the

               City of Indianapolis after Michael Taylor Jr.’s death and after the jury verdict

               against the City.

           B. William Jordan: On April 4, 2000, City of Indianapolis police officers, including

               Officer Richard Wilkerson, responded to the Indianapolis residence of William

               Jordan who had threatened suicide. The officers tackled Mr. Jordan, sprayed his

               face with chemical spray, and cuffed his hands behind his back and got on top of



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             him as he was face-down on the floor. Mr. Jordan’s wife testified both in a

             deposition at a federal civil rights trial that after her husband had been secured by

             chemical spray and handcuffed, that Officer Richard Wilkerson struck Mr. Jordan

             in the back of his head with his flashlight, resulting in a laceration which required

             multiple staples to close. Mr. Jordan filed a federal civil rights lawsuit against the

             City of Indianapolis and its police officers including Officer Richard Wilkerson

             alleging the officers used excessive force against him. A federal jury found in favor

             of Mr. Jordan and against Officer Wilkerson for his use of force against Mr. Jordan.

             Following the jury’s verdict, the City of Indianapolis paid Mr. Jordan over

             $100,000 to settle his lawsuit against the City and Officer Wilkerson. The City of

             Indianapolis did not impose any discipline on Officer Wilkerson for his use of force

             against Mr. Jordan. Officer Wilkerson remained employed by the City of

             Indianapolis as a police officer after the City paid Mr. Jordan over $100,000 to

             settle his suit against the City and Officer Wilkerson.

          C. John Leaf: In 2001, Officer Ronald Shelnutt of the Marion County Sheriff’s

             Department shot and killed John Leaf, who was in his own bed in his own

             apartment. The Estate of John Leaf sued Deputy Shelnutt and the Marion County

             Sheriff’s Department for the killing of John Leaf. The Combined City of

             Indianapolis/Marion County paid the Estate of John Leaf $950,000 to settle its

             lawsuit for the death of John Leaf. The Marion County Sheriff did not discipline

             Deputy Shelnutt for his action of shooting to death John Leaf. The Marion County

             Sheriff, and, subsequently the City of Indianapolis, continued to employ Officer

             Shelnutt after the Leaf shooting and after the conclusion of the federal civil rights




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            case related to Leaf’s death. After the Leaf shooting Officer Shelnutt was accused

            in at least two separate federal lawsuits of releasing K-9 dogs on individuals who

            had surrendered, Warner Berry and Matthew Brackin, both of whom sued Officer

            Shelnutt and the Marion County Sheriff. The Consolidated City of Indianapolis and

            Marion County paid money to Warner Berry and Matthew Brackin to settle their

            lawsuits relating to Officer Shelnutt’s actions of releasing his police dog on them.

            After the Consolidated City of Indianapolis and Marion County paid Warner Berry

            and Matthew Brackin money to settle their lawsuits related to Officer Shelnutt’s

            actions of releasing his police dog on them, the Marion County Sheriff and the City

            of Indianapolis continued to employ Officer Shelnutt as a police officer. The City

            of Indianapolis did not discipline Officer Shelnutt for releasing his police dog on

            Warner Berry or Matthew Brackin.

         D. Joseph Bishop: On November 13, 2004, IPD Sergeant Steven Atzhorn arrested

            Joseph Bishop in his home. During the arrest Sergeant Steven Atzhorn used

            physical force and a taser on Joseph Bishop. Sergeant Atzhorn lied in a probable

            cause affidavit, claiming that Joseph Bishop had started the physical confrontation

            by hitting Sergeant Atzhorn. Officer Atzhorn’s false charge of battery was the basis

            for Mr. Bishop’s arrest. The Marion County Prosecutor filed criminal charges

            against Mr. Bishop for allegedly battering Sergeant Atzhorn based upon Sergeant

            Atzhorn’s affidavit. Sergeant Atzhorn later admitted that he had lied in his probable

            cause affidavit about Mr. Bishop allegedly hitting him. The Marion County

            Prosecutor dismissed the criminal charge of battery against Mr. Bishop when it

            learned that Sergeant Atzhorn’s affidavit alleging Mr. Bishop had battered him was




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            false. Joseph Bishop sued Sergeant Atzhorn and the City of Indianapolis over his

            arrest and injuries caused by Sergeant Atzhorn’s actions. The City of Indianapolis

            paid Mr. Bishop $105,000 to settle his lawsuit against IPD Sergeant Steven Atzhorn

            and the City of Indianapolis. The City of Indianapolis did not impose any discipline

            on Sergeant Steven Atzhorn for his use-of-force during his arrest of Joseph Bishop.

            The City of Indianapolis did not discipline Sergeant Steven Atzhorn for his

            admitted lying in his probable cause affidavit relating to Mr. Bishop. The City of

            Indianapolis continued to employ Sergeant Atzhorn as a police officer after it was

            revealed that Sergeant Steven Atzhorn had used force against Mr. Bishop and had

            lied about Mr. Bishop, falsely claiming Mr. Bishop had battered him.

         E. Miguel Gutierrez: On March 8, 2009, Miguel Gutierrez was walking on a

            sidewalk in Indianapolis, when he was stopped by IMPD Officer Michael R.

            Kermon. IMPD Officer Michael R. Kermon sprayed chemical spray into Miguel

            Gutierrez’s eyes, grabbed Mr. Gutierrez and threw him to the ground. Mr. Gutierrez

            was detained and when released took a breathalyzer test which showed he had no

            alcohol in his system. The Marion County Prosecutor initially charged Mr.

            Gutierrez with criminal offenses arising out of his encounter with Officer Kermon,

            but subsequently dismissed those charges. Mr. Gutierrez sued IMPD Officer

            Michael R. Kermon and the City of Indianapolis alleging that Officer Kermon

            falsely arrested and used excessive force against Mr. Gutierrez, including kicking

            him after he was handcuffed and not resisting. The City of Indianapolis paid Mr.

            Gutierrez $132,500 to settle his lawsuit against IMPD Officer Michael R. Kermon

            and the City of Indianapolis and, as part of that settlement, agreed to cooperate in




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            having the records associated with Mr. Gutierrez’s arrest and prosecution

            expunged. The City of Indianapolis did not impose any discipline on IMPD Officer

            Michael R. Kermon for his actions relating to Mr. Gutierrez. After the City of

            Indianapolis paid the settlement to Mr. Gutierrez, it continued to employ Officer

            Michael R. Kermon as a police officer.

         F. Michael Etter: On March 25, 2009, City of Indianapolis resident Michael Etter

            was suspected of having stolen a gaming console. IMPD Officer Mark Rand was a

            canine officer and was involved in the apprehension of Michael Etter. Officer Rand

            released his canine on Michael Etter, which bit Mr. Etter and caused injuries.

            Michael Etter sued Officer Mark Rand and the City of Indianapolis, claiming that

            he had surrendered to Officer Rand and was lying prone on the ground with his

            hands above his head prior to Officer Rand releasing his police dog on him. The

            City of Indianapolis paid Michael Etter $90,000 to settle his lawsuit against IMPD

            Officer Mark Rand and the City of Indianapolis. The City of Indianapolis did not

            impose any discipline on Officer Mark Rand for his use of a canine on Michael

            Etter. Officer Mark Rand remained on the IMPD force after the City of Indianapolis

            paid Mr. Etter to settle his lawsuit against Officer Rand.

         G. Willie King: On February 18, 2011, Willie King was arrested by IMPD Officer

            Jonathan Lawlis while Mr. King was video recording a police encounter with a

            person in Mr. King’s Indianapolis neighborhood. Officer Lawlis ordered Mr. King

            to stop video recording the scene and when Mr. King failed to stop Officer Lawlis

            used physical force against Mr. King while arresting him. Mr. King was charged

            criminally based upon Officer Lawlis’ account of his actions, and that following a




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            criminal trial Willie King was found not guilty on all charges, including allegedly

            resisting arrest. Willie King sued Officer Lawlis and the City of Indianapolis for

            interfering with his right to record the police, for false arrest, and for injuries he

            sustained while being arrested. The City of Indianapolis paid Willie King $200,000

            to settle his lawsuit against the City of Indianapolis and Officer Lawlis. The City

            of Indianapolis did not impose any discipline on Officer Jonathan Lawlis for his

            arrest of and use of force against Willie King. Officer Lawlis remained on the IMPD

            force after the City of Indianapolis paid Mr. King to settle his lawsuit against

            Officer Lawlis.

         H. Luke Woodworth and Samantha Wills: On January 1, 2014, IMPD Officer

            Michael Krebs approached a car in his driveway in which Luke Woodworth and

            Samantha Wills were seated. Neither Luke Woodworth nor Samantha Wills were

            armed and neither threatened Officer Krebs. Officer Krebs brandished a firearm

            and Luke Woodworth and Samantha Wills drove away. Officer Krebs fired

            multiple shots from his gun at Luke Woodworth and Luke Woodworth was

            criminally charged with Criminal Reckless based on Officer Michael Kreb’s report

            of the incident, a charge which was later dismissed by the Marion County

            Prosecutor. Luke Woodworth and Samantha Willis sued the City of Indianapolis

            and IMPD Officer Michael Kreb alleging Officer Kreb used excessive force against

            them. The City of Indianapolis did not impose any discipline on IMPD Officer

            Michael Kreb for his action of shooting at Mr. Woodworth and Ms. Wills. The City

            of Indianapolis paid Luke Woodworth and Samantha Willis $370,000 to settle their

            lawsuit against Officer Krebs and the City of Indianapolis. Officer Michael Kreb




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            remained on the IMPD force after the City of Indianapolis paid Mr. Woodworth

            and Ms. Wills to settle their lawsuit against the City and Officer Kreb.

         I. Marcus Jackson: On May 8, 2014, IMPD officers Justin Beaton and Jennifer

            Gabel kicked and deployed a stun gun on 29-year-old Marcus Jackson. A portion

            of Jackson’s arrest was captured on video, showing Officer Beaton using force

            against Marcus Jackson as Mr. Jackson lay limp and face-down. The City of

            Indianapolis did not discipline Officers Beaton and Gabel for their use of force

            against Marcus Jackson. In 2015, Officer Justin Beaton pled guilty to felony

            criminal recklessness for firing a gun at his girlfriend which left her seriously

            injured.

         J. Joshua Harris: On July 2, 2016, Indianapolis resident Joshua Harris called 9-1-1

            to report a possible shooting near his home and IMPD Officer. Officer Correll used

            force against Joshua Harris. Indeed, Officer Correll’s knee strike to Mr. Harris’s

            abdomen crushed Mr. Harris’ spleen, which required an operation to remove his

            spleen and part of his pancreas and small intestines. The City of Indianapolis paid

            Mr. Harris $380,000 to settle his lawsuit against Officer Douglas Correll and the

            City of Indianapolis. The City of Indianapolis did not impose any discipline on

            IMPD Officer Douglas Correll for his actions related to Mr. Harris. Officer Correll

            remained employed by the City of Indianapolis after the City of Indianapolis paid

            Mr. Harris to settle his lawsuit against it and Officer Correll. On August 3, 2023,

            IMPD Officer Douglas Correll shot 49-year-old Indianapolis resident Gary Harrell

            in the back as Mr. Harrell was running away from a traffic stop.




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    43. The above examples are part of a larger pattern and practice of the City of Indianapolis

        implicitly condoning its officers’ use of excessive force, failing to discipline them and

        continuing to employ them after their use of excessive force.

    44. The City’s above policies and practices were a responsible cause of how the individual

        defendant officers interacted with Mr. Whitfield and the fatal result that occurred.

    45. At all times relevant to this suit, the defendant officers were employed by the City of

        Indianapolis and acted within the course and scope of their employment as officers of the

        Indianapolis Metropolitan Police Department.

    46. At all times relevant to this suit, the officers acted under color of state law.


                                              V. Claims

    47. The actions of the defendants constituted an unreasonable seizure of Mr. Whitfield by the

        use of excessive force, in violation of the fourth amendment to the United States, actionable

        pursuant to 42 U.S.C.§1983.

    48. The actions of the defendants constituted a battery in contravention of Indiana common

        law to which the City of Indianapolis is answerable under the Indiana Tort Claims Act, Ind.

        Code 34-13-3 et seq.

    49. The actions of the defendants constituted negligence in contravention of Indiana common

        law to which the City of Indianapolis is answerable under the Indiana Tort Claims Act, Ind.

        Code 34-13-3 et seq.

    50. Defendant City of Indianapolis is legally responsible under Indiana state law for its own

        actions, and, under the doctrine of respondeat superior, for the actions of its employees,

        including the actions of the officers for their actions in dealing with Mr. Whitfield.




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    51. The Estate reserves the right to assert all legal theories of relief which the facts support

       pursuant to the pleading requirements of Fed. R. Civ. Pro. 8.


                                     VI. Jury Trial Requested

    52. The Estate requests a jury trial on all claims.


                                       VII. Relief Requested

    53. The Estate seeks all relief available under the law, including compensatory and punitive

       damages, attorney fees and costs, and all other appropriate relief.


                                                          Respectfully submitted,

 Dated: November 26, 2024
                                                          /s/ Richard A. Waples
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                                  CERTIFICATE OF SERVICE

        The undersigned certifies that on November 26, 2024, this document was filed

 electronically. Notice of this filing will be sent to counsel of record by operation of the Court’s

 electronic filing system. Parties may access this filing through the Court’s system:

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